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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL

            Cox distorts the issues before the Court. It has been stonewalling, hoping to run out the

     clock. Plaintiffs’ motion to compel concerns timely discovery that easily passes the test for

     relevance. Cox’s contentions on burden are overblown. Indeed, for most of the categories in

     Plaintiffs’ motion, the discovery sought is narrow and should be easy to produce. Cox should be

     ordered to provide the discovery it has been wrongfully withholding.

            I.         Cox’s Audited Financial Statements For 2012-2014

            Plaintiffs seek Cox’s complete audited financials because they are necessary to understand

     Cox’s overall financial situation, a factor the jury may consider in assessing statutory damages.

     Cox concedes the relevance of its audited financial statements by relying on them in depositions

     and producing cherry-picked excerpts from them. But the produced financial statements are

     incomplete and cannot be fully understood without the narrative and explanatory notes that courts

     routinely recognize are integral parts of financial statements. They should be produced for

     multiple reasons.
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        First, each page of the excerpted financials that Cox produced directs the reader to “see

 notes to consolidated financial.” ECF No. 177-6. Courts routinely find that “notes to the financial

 statements are an integral part of any financial statement” and that the statements are incomplete

 without them. See, e.g., In re Sunpoint Sec., Inc., 377 B.R. 513, 532 (Bankr. E.D. Tex. 2007); San

 Francisco Bay Area Rapid Transit Dist. v. Spencer, No. C 04-04632 SI, 2006 WL 3782853, at *1

 (N.D. Cal. Dec. 21, 2006) (finding “financial records produced contain clear gaps” where

 accompanying notes to financial statements were not included); In re Saco Local Dev. Corp., 30

 B.R. 862, 864 (Bankr. D. Me. 1983) (explaining that notes “are an integral part of the financial

 statement” and excluding financials statements because notes were missing).

        Courts thus compel production of complete financial statements in precisely this situation.

 In Austrum v. Fed. Cleaning Contractors, Inc., the defendant produced balance sheets and income

 statements but withheld accompanying notes, as Cox has done here. No. 14-81245-CIV, 2015 WL

 6555081, at *3 (S.D. Fla. Oct. 28, 2015). The Court granted plaintiff’s motion to compel the notes

 because “[t]he accompanying notes are an integral part of these financial statements” and “the

 balance sheets and income statements are not complete without the accompanying notes.” The

 same is true here.

        Plaintiffs’ financial expert, Dr. William Lehr, relied on Cox’s financials for portions of his

 opinions but was limited to the incomplete excerpts Cox provided. Consistent with the cases cited

 above, Dr. Lehr explained in his deposition that “often to interpret, you know, financial things,

 you want to have some more context to do them. . . . [K]nowing that there are these audited

 statements, part of which has been provided, having the whole thing would be a useful thing to

 have[.]” (Gould Decl. ¶ 3, Ex. 1 at 65-67 (Lehr deposition).) Absent the ability to review the

 entire document, Dr. Lehr could not say whether it would change his opinions, id., because of




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 course he does not know what they reveal, but there is no question the financial statements he

 reviewed are incomplete. See Austrum, 2015 WL 6555081, at *3. Cox’s refusal to produce the

 notes and explanations of the financial statements suggests it is hiding something. That is

 improper, especially where Cox has conceded the relevance of the financial statements by relying

 on them and producing portions thereof.

        Second, Cox voluntarily made the decision to have its 30(b)(6) witness review and rely

 upon its audited financials. It is well-established in the Fourth Circuit that parties must produce

 documents relied upon in a deposition. See, e.g., Wells v. Liddy, 37 F. App’x 53, 67 (4th Cir. 2002)

 (ordering production of privileged documents referenced in deposition, applying “normal rules of

 evidence” (rather than privilege rules) because the witness made “testimonial use” of the

 documents by indicating that he had relied upon such materials); Brown v. Tethys Bioscience, Inc.,

 No. CIV.A. 3:11MC11, 2011 WL 4829340, at *2 (E.D. Va. Oct. 11, 2011) (noting that even

 privileged documents are discoverable if they “ha[d] an impact upon the testimony of the

 witness[,]” though holding that the documents at issue were not discoverable because plaintiff did

 not specifically describe the manner in which the witness relied upon them). This alone mandates

 that Cox produce the documents.

        Third, Cox’s unsupported attorney argument that it has already produced “substantial

 additional, detailed financial information” rendering the information sought duplicative or

 unnecessary is misleading. Cox cites a list of financial documents produced, but cites to no

 declaration and no bates numbers, leaving the Court and Plaintiffs to wonder what that all is. (Opp.

 at 4.) Nevertheless, all Cox has produced is cherry-picked pages from its audited financials, time-

 limited profit and loss statements for residential products and Cox Business service, and billing

 reports for its subscribers that infringed Plaintiffs’ works. None of those unaudited statements




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 include auditor notes, explanations, qualifications, opinions, contingent liabilities, accounting

 descriptions, statements regarding corporate structure, intercompany transfers, risk factors or other

 disclosures commonly contained in audited financials. Id.

        Fourth, though Cox feigns ignorance of why its financials are relevant, it is undisputed that

 Cox’s overall financials will be important evidence for a jury as it assesses statutory damages,

 including the need for deterrence in light of Cox’s overall profits. See, e.g., EMI Apr. Music, Inc.

 v. White, 618 F. Supp. 2d 497, 508 (E.D. Va. 2009) (emphasizing the “important deterrent effect

 served by statutory damages” for copyright infringement) (citing F.W. Woolworth Co. v.

 Contemporary Arts, 344 U.S. 228, 233 (1952)); UMG Recordings, Inc. v. MP3.Com, Inc., No. 00

 CIV. 472 JSR, 2000 WL 1262568, at *6 (S.D.N.Y. Sept. 6, 2000) (noting that “the defendant’s size

 and financial assets are highly relevant to arriving at the appropriate level of statutory damages”

 for copyright infringement).

        Cox cannot credibly contend these relevant documents are burdensome to produce. It

 should be ordered to provide them.

        II.     Data underlying Cox’s claim that 96% of infringers stop after 5 notices

        This category of Plaintiffs’ motion appears to be moot because Cox has finally agreed to

 produce the data. (Opp. at 7.)

        III.    Documents regarding Cox’s implementation of its graduated
                response policy with respect to business subscribers

        Cox’s Graduated Response Policy for business customers includes Cox calling business

 customers who are the subject of infringement notices. Based on Cox’s internal emails and the

 sheer volume of the infringement notices to some business customers, there are strong grounds to

 believe that Cox routinely failed to call its business customers as required under its policy. There

 is certainly a lack of evidence in Cox’s document production showing that Cox actually called its


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 business customers. Unless Cox will admit that it routinely failed to call its business customers to

 inform them of infringement notices, Plaintiffs must have the opportunity to test Cox’s compliance

 with its own policy.

        The document discussed in Plaintiffs’ memorandum shows a strong example of Cox staff

 not contacting its business customers. Cox offers attorney argument that the example in the

 document was an “isolated incident.” (Opp. at 9.) But, notably, there is no declaration from a fact

 witness willing to say as much. Cox’s statement that it “took pains to ensure that its customer

 service representatives followed Cox’s notice handling procedures to the letter” stretches credulity.

 It certainly flies in the face of this Court’s rulings in the BMG v. Cox case. (BMG v. Cox, Case

 No. 1:14-cv-01611-LO-JFA, ECF No. 703 at 31 (Memorandum Order on Summary Judgment,

 finding that “Cox did not implement its repeat infringer policy … Instead, Cox publicly purported

 to comply with its policy, while privately disparaging and intentionally circumventing the DMCA

 requirements.”).)

        Cox next disingenuously asserts that the work logs are “largely duplicative” of

 “information that Cox has already provided in another form.” (Opp. at 2, 8.) This is simply not

 true. Cox produced a spreadsheet at COX_SONY_00515539 called “ticket action data” with no

 information whatsoever on steps taken to call business customers about infringement notices.

 There is no option for “call customer” or anything analogous, nor any customer service notes about

 any interactions with customers (or lack thereof) beyond automated actions taken by CATS.

 (Gould Decl. ¶ 5.)

        In opposing Plaintiffs’ motion, Cox speculates what the work logs “potentially includ[e]

 or “could include.” (Opp. at 8.) Its declarant likewise speculates what the work log notes “may

 also contain” or “could include.” (Beck Decl. at ¶ 7.) Notably, Cox does not indicate whether the




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 work log notes contain references to its representatives calling business customers to inform them

 of infringement notices. Nor does Cox indicate where or how its representatives were supposed

 to record making such calls to business customers other than in the work log notes.

        Cox presents a red herring in arguing that production would require it to review the work

 logs for “an individual’s private information.” (Opp. at 8.) This objection is unfounded and pure

 speculation. Plaintiffs seek the work log notes for business customers only. Cox has already

 disclosed the names, addresses and account numbers of virtually all of the 2,793 business

 customers implicated by Plaintiffs’ notices, pursuant to a stipulated order. (ECF No. 140; Gould

 Decl. ¶ 6.) Cox ignores that fact and speculates that the work log notes might include the name or

 home phone number of “a business customer’s designated contact.”             Even accepting this

 speculation as true, a protective order is in place, and reviewing an excerpt of work log notes for

 a couple thousand business customers (out of the roughly 57,000 customers who received

 Plaintiffs’ notices) presents no disproportionate burden given what is at stake here. In seeking

 work log notes for business customers only, Plaintiffs tailored their request to avoid any undue

 burden.

        Cox next complains about the size of the potential production and speculates that

 unexpected complications might arise in trying to retrieve the data. (Opp. at 8 and 10 n. 6.) Cox

 neglects to mention that the work log notes are in Cox’s CATS database from which it has already

 run a script to export data. (Gould Decl. ¶ 6.) Cox is not starting this additional data pull from

 scratch.

        In sum, given the serious questions about whether Cox followed its policy for calling

 business subscribers, Plaintiffs must have the opportunity to test the assertion by reviewing the

 work log notes.




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        IV.     William Rosenblatt Expert Report(s)

        Cox’s arguments concerning William Rosenblatt’s expert reports are unpersuasive. The

 question before the Court is one of discoverability, not admissibility at trial. Cox does not deny

 that Mr. Rosenblatt made statements on Cox’s behalf concerning MarkMonitor in his reports. Nor

 can Cox deny those statements are relevant to its defenses, including its expert’s contention in this

 case that the MarkMonitor system is unreliable. If Cox’s various experts have made contradictory

 statements on its behalf from case to case concerning MarkMonitor, that is highly probative

 information and Plaintiffs (and the jury) are entitled to know that.

        As for admissibility, Cox also gets it wrong. Cox invents the notion that its expert’s

 statements in one case are an admission by Cox only in the case where it sought to use that

 testimony. That is incorrect. A party admission is just that and may be used against that party in

 subsequent proceedings. See, e.g., Samaritan Health Ctr. v. Simplicity Health Care Plan, 459

 F.Supp.2d 786, 799 (E.D. Wis. 2006). Cox’s position is even more unsustainable given that in this

 case it has already inspected MarkMonitor’s source code, taken a 30(b)(6) deposition of

 MarkMonitor on a number of issues, and is trying to pursue a further 30(b)(6) deposition of

 MarkMonitor in Lithuania solely on source code issues. (Gould Decl. ¶ 7.) At the same time, Cox

 is withholding discovery of Mr. Rosenblatt’s report where, according to BMG, he “claims to know

 everything he needs to know about MarkMonitor's code based on a redacted 13-page summary

 and because some employees of MarkMonitor have been on panels he's hosted.” (ECF No. 177-

 21 (November 20, 2015 Hearing transcript excerpt).)

        Cox’s admonishment that Plaintiffs “plow your own road” as the Court indicated is

 inapposite. Cox should not be permitted to hide the fact that it appears to have taken contradictory

 positions on the issue of MarkMonitor’s capability. The experts and the jury should be able to




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 hear that. Plaintiffs have hired their own experts and are not on a fishing expedition. The relevance

 of Mr. Rosenblatt’s statements concerning MarkMonitor on Cox’s behalf is clear: Cox has

 squarely challenged the reliability of the MarkMonitor system and Cox’s record of prior

 inconsistent statements, presented through Mr. Rosenblatt, are squarely relevant. There is no

 burden to Cox in making the production. It should be ordered to provide Mr. Rosenblatt’s

 report(s). Admissibility and use at trial is for another day.

        V.      Video recordings of the depositions of Cox’s fact witnesses in the BMG case

        Cox’s continued refusal to produce the videos of depositions in the BMG v. Cox case for

 which it produced the written transcripts is untenable.         First, Cox is overly formalistic in

 suggesting that Plaintiffs have never “formally” requested these. Plaintiffs requested them

 repeatedly in writing and conversations with counsel and they are encompassed by Plaintiffs’

 underlying document request. Second, Cox does not rule out the possibility that it may use the

 video recordings. (Opp. at 12.) If there is even the slightest chance of Cox using the video,

 Plaintiffs should receive it now and not have to scramble at the eleventh hour when Cox decides

 to address the issue. Third, even if Cox does not intend to use these videos, Plaintiffs likely will.

 They include sworn testimony by Cox’s employees and former employees on many key issues in

 this case. When the jury hears this testimony, it should have the benefit of seeing the witnesses

 testify, not just hearing excerpts read by someone else.

        VI.     Documents Concerning Messrs. Zabek, Sikes, and Vredenburg’s
                Employment

        Messrs. Zabek and Sikes have a long record of contemptuous attitudes and emails towards

 copyright laws and rights, as amply demonstrated in the BMG case. (BMG v. Cox, Case No. 1:14-

 cv-01611-LO-JFA, ECF No. 703 at 31-36.) Mr. Vredenburg implemented Cox’s policies at their

 direction. Cox’s internal views on these employees during their tenure with the company is critical



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 to understanding Cox’s attitude towards and handling of copyright infringement it knew was

 occurring on its network. These employees worked at Cox for years and Cox knew them well. A

 continuing endorsement of their work, performance and attitudes when Mr. Zabek and Mr. Sikes

 were declaring “f the dmca” (Zabek), “f the DRC” (Sikes, regarding Digital RightsCorp), and

 declining to terminate repeat infringements so they could hold on to every penny of incoming

 revenue (Sikes), speaks volumes about Cox’s attitude towards copyright infringement. It bears

 directly on willfulness and damages, among other things.

        Attempting to stave off an order to produce the relevant documents, Cox claims that

 Plaintiffs rely on “unsupported conjecture.” Cox is wrong. In fact, Cox’s closing argument at the

 BMG v. Cox trial is telling:

        Now, there are those cases when somebody goes through the process and it's time
        to terminate, and there have been some e-mails and some chats between employees,
        mostly Mr. Zabek and his colleagues, about termination, reactivation, and
        connecting those things to revenue. People have said, we need the revenue. We
        need the customers. We've all seen those e-mails.

        Those e-mails reflect bad judgment. They reflect bad decisions. I think they're
        offensive, but they're not Cox's policy, and they are not about this case. Not one of
        those e-mails was about a BMG notice, not about a situation with Rightscorp at all.
        They're not about the response to Rightscorp or BMG.

 (Gould Decl. ¶ 8, Ex. 2 (BMG v. Cox Trial Transcript at 2213:03-15).)

        This type of statement, likely to be repeated by counsel and witnesses here, underscores

 the need to discover how Cox viewed those employees, whether it praised and rewarded them for

 Cox’s copyright policies and their implementation, and the circumstances of their departures.

 Separation letters and deposition testimony from these individuals cannot possibly reveal Cox’s

 contemporaneous internal views on those key individuals, all of whom abruptly left Cox’s employ

 following the BMG trial.




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        VII.    Abuse Reports for 2012-2014

        Cox pretends that Plaintiffs did not explain the relevance of these abuse reports. But that

 is simply not so. Plaintiffs cited Cox’s argument that it acted reasonably given that copyright

 infringement is only one of “a number of different Internet threats and issues, including spam,

 phishing, malware, hacking, and denial of service (DOS) attacks.” (ECF No. 177-28 (Dr. Kevin

 Almeroth’s Rebuttal Expert Report excerpt).) In addition, Cox made the following statements at

 closing argument in the BMG v. Cox case:

        Copyright infringement is a big global problem, but it's not the only problem.
        There's hacking. There's security problems. There's spam. There's denial of service
        attacks. There's viruses and malware that can take control of people's accounts, that
        can take their credit card information, that can wreak havoc on people, and Cox is
        dealing with all of those problems.

 (Gould Decl. ¶ 8, Ex. 2 (BMG v. Cox Trial Transcript at 2212:19-25).)




        Accordingly, the requested abuse report documents are needed so a jury can understand

 how the number of copyright infringement reports compare to those for other issues such as spam

 and phishing. As Cox acknowledges, the present record does not illustrate how the number of

 copyright complaints compare to the number of abuse complaints for non-copyright issues.

 Tellingly, nor does Cox indicate whether the weekly abuse reports contain narrative text in addition

 to raw figures breaking down complaints by abuse type. (Opp. at 15.)

        VIII. Testimony concerning Cox’s “3-strike” policy

        As Cox acknowledges, its 30(b)(6) designee, Matt Carothers, denied that Cox ever had a

 three strikes policy. (Opp. at 16.) Other relevant witnesses, Randy Cadenhead and Brent Beck,




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 did not know anything about it when asked at deposition. But the two documents attached to

 Plaintiffs’ motion describes such a policy for copyright infringement, including what Cox does

 upon each “strike.” The second document instructs its call center personnel “not [to] use the

 verbiage ‘three strikes’ with [Cox’s] customers.” (ECF No. 177-30 (Cox internal document titled

 “Q&A for Cox DMCA Process”).) Contrary to Cox’s attacks, Plaintiffs did not “misrepresent”

 the second document. Notwithstanding references within the document to the year 2003, its

 metadata shows a creation date in 2013 and a modification in 2014, and it was attached to an email

 in 2014. (Gould Decl. ¶ 9.) Plaintiffs want to get to the bottom of whether Cox had another policy

 that it disregarded, as this could have profound implications on both liability and damages. Even

 though Plaintiffs did not show these documents to Mr. Carothers, he was asked about a three-

 strikes policy and denied that it existed. Cox should have a witness who can speak to the

 documents and the existence of any three-strikes policy.



  Dated June 27, 2019                                    Respectfully Submitted,

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